                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 MELVYN KLEIN, Derivatively On Behalf Of
 CROWN CASTLE INTERNATIONAL CORP.,             C.A. No. 20-cv-00606-MN

                         Plaintiff,
                  vs.

 P. ROBERT BARTOLO, JAY A. BROWN, CINDY
 CHRISTY, ARI Q. FITZGERALD, ROBERT E.
 GARRISON II, ANDREA J. GOLDSMITH, LEE W.
 HOGAN, EDWARD C. HUTCHESON, JR., J.
 LANDIS MARTIN, ROBERT F. MCKENZIE,
 ANTHONY J. MELONE, AND W. BENJAMIN
 MORELAND,

                         Defendants,

 CROWN CASTLE INTERNATIONAL CORP.,

                        Nominal Defendant.

                                               C.A. No. 20-cv-00703-MN
 JOSEPH BRUNO, derivatively on behalf of
 CROWN CASTLE INTERNATIONAL CORP.,

                          Plaintiff,
            vs.

 JAY A. BROWN, DANIEL K. SCHLANGER, P.
 ROBERT BARTOLO, CINDY CHRISTY, ARI Q.
 FITZGERALD, ROBERT E. GARRISON II,
 ANDREA J. GOLDSMITH, LEE W. HOGAN,
 EDWARD C. HUTCHESON, JR., J. LANDIS
 MARTIN, ROBERT F. MCKENZIE, ANTHIBY J.
 MELONE, and W. BENJAMIN MORELAND,

                          Defendants,
            and

 CROWN CASTLE INTERNATIONAL CORP.,

                          Nominal Defendant.

Caption Continued on Next Page
 SEAN DEVERS, derivatively on behalf of
 CROWN CASTLE INTERNATIONAL CORP.,                       C.A. No. 20-00722-MN

                         Plaintiff,

             vs.

 JAY A. BROWN, DANIEL K. SCHLANGER,
 P. ROBERT BARTOLO, CINDY CHRISTY,
 ARI Q. FITZGERALD, ROBERT E.
 GARRISON II, ANDREA J. GOLDSMITH,
 LEE W. HOGAN, EDWARD C.
 HUTCHESON, JR., J. LANDIS MARTIN,
 ROBERT F. MCKENZIE, ANTHONY J.
 MELONE, and W. BENJAMIN MORELAND,

                         Defendants,

             and

 CROWN CASTLE INTERNATIONAL CORP.,

                         Nominal Defendant.

                                STIPULATION AND ORDER

       WHEREAS, on April 29, 2020, plaintiff Melvyn Klein (“Plaintiff Klein”), derivatively on

behalf of Crown Castle International Corp. (“Crown Castle” or the “Company”), filed a Verified

Shareholder Derivative Complaint against Defendants P. Robert Bartolo, Jay A. Brown, Cindy

Christy, Ari Q. Fitzgerald, Robert E. Garrison II, Andrea J. Goldsmith, Lee W. Hogan, Edward C.

Hutcheson, Jr., J. Landis Martin, Robert F. McKenzie, Anthony J. Melone, and W. Benjamin

Moreland (collectively, the “Klein Individual Defendants” and, together with Nominal Defendant

Crown Castle International Corp, the “Defendants”), captioned Klein v. Bartolo, et al., C.A. No.

20-00606-MN (the “Klein Action”);

       WHEREAS, on May 29, 2020, Plaintiff Joseph Bruno filed a substantially similar

shareholder derivative action on behalf of Crown Castle in this Court against the Individual


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Defendants, as well as against individual defendant Daniel K. Schlanger (collectively “Individual

Defendants”), asserting substantially similar factual allegations and making the same claims as the

Klein Action. The matter is captioned Bruno v. Brown, et al., C.A. No. 20-00703-MN (the “Bruno

Action”);

       WHEREAS, on May 26, 2020, Plaintiff Sean Devers filed a substantially similar

shareholder derivative action on behalf of Crown Castle in this Court against the Individual

Defendants, asserting substantially similar factual allegations and making the same claims as the

Klein and Bruno Actions. The matter is captioned Devers v. Brown, et al., C.A. No. 20-00722 (the

“Devers Action,” and, together with the Klein and Bruno Actions, the “Derivative Actions”);

       WHEREAS, the Derivative Actions challenge the same alleged conduct by the same

Company directors and officers, involve substantially similar questions of law and fact, allege

breaches of fiduciary duties and other claims concerning the same events, identify many of the

same purported misstatements, and seek substantially the same relief;

       WHEREAS the parties therefore respectfully submit that consolidation of the Derivative

Actions is appropriate;

       WHEREAS, cases pending before the court may be consolidated under Federal Rule of

Civil Procedure 42 if the actions involve a common question of law or fact;

       WHEREAS, the Derivative Actions involve a common question of law or fact;

       WHEREAS, to avoid potentially duplicative actions and to prevent any waste of the

Court’s resources, the parties agree that the Derivative Actions should be consolidated with each

other for all purposes, including pre-trial proceedings and trial, into a single consolidated action

(“the Consolidated Derivative Action”);

       WHEREAS, in order to realize the efficiencies made possible by consolidation of the




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Derivative Actions, the Plaintiffs agree that The Brown Law Firm, P.C. and Gainey McKenna &

Egleston, the respective resumes of which are attached hereto as Exhibits A, and B, shall be

designated as Co-Lead Counsel representing Plaintiffs in the Consolidated Derivative Action; and

       WHEREAS the Plaintiffs also agree that O’Kelly & Ernst, LLC and Farnan LLP shall be

designated Co-Liaison Counsel representing plaintiffs in the consolidated action; 1

       WHEREFORE, the parties, through their undersigned counsel, hereby agree, stipulate,

and respectfully request that the Court enter an Order as follows:

       1.      The Derivative Actions are hereby related to each other.

       2.      The Derivative Actions are also hereby consolidated for all purposes, including

pre-trial proceedings and trial, under Case No. 20-cv-00606-MN.

       Case Name                             Case Number                    Date Filed

       Klein v. Bartolo, et al.              20-00606-MN                    April 29, 2020

       Bruno v. Brown, et al.                20-00703-MN                    May 26, 2020

       Devers v. Brown, et al.               20-00722-MN                    May 29, 2020




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  Defendants do not oppose consolidation and take no position on the appointment of lead counsel
in the Consolidated Derivative Action.

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       3.      Every pleading filed in the Consolidated Derivative Action, or in any separate

action included herein, must bear the following caption:

                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


IN RE CROWN CASTLE INTERNATIONAL
CORP. DERIVATIVE LITIGATION                       C.A. No. 20-00606-MN

                                                  CONSOLIDATED



        4.     All papers filed in connection with the Consolidated Derivative Action shall be

filed in C.A. 20-cv-00606-MN.

       5.      Co-Lead Counsel for plaintiffs for the conduct of the Consolidated Derivative

Action shall be:

                            GAINEY McKENNA & EGLESTON
                                    Thomas J. McKenna
                                    Gregory M. Egleston
                                501 Fifth Avenue, 19th Floor
                                   New York, NY 10017
                                    Tel: (212) 983-1300
                                    Fax: (212) 983-0383
                              Email: tjmckenna@gme-law.com
                               Email: egleston@gme-law.com

                              THE BROWN LAW FIRM, P.C.
                                        Timothy Brown
                                     240 Townsend Square
                                    Oyster Bay, NY 11771
                                 Telephone: (516) 922-5427
                                 Facsimile: (516) 344-6204
                             Email: tbrown@thebrownlawfirm.net

        6.     Co-Liaison Counsel for the conduct of the Consolidated Action shall be:

                                         Brian E. Farnan
                                        Michael J. Farnan
                                         FARNAN LLP
                                     919 N. Market St., 12th Fl
                                          Wilmington, DE 19801
                                              302-777-0300
                                         bfarnan@farnanlaw.com
                                         mfarnan@farnanlaw.com

                                            Ryan M. Ernst
                                      O’KELLY & ERNST, LLC
                                   824 N. Market Street, Suite 1001A
                                        Wilmington, DE 19801
                                        Phone (302) 778-4000
                                      Email: rernst@oelegal.com


        7.      Plaintiffs’ Co-Lead Counsel shall have the sole authority to speak for Plaintiffs in

all matters regarding pre-trial procedure, trial, and settlement negotiations and shall make all work

assignments in such manner as to facilitate the orderly and efficient prosecution of this litigation

and to avoid duplicative or unproductive effort.

        8.       Co-Lead Counsel will be responsible for coordinating all activities and

appearances on behalf of Plaintiffs. No motion, request for discovery, or other pre-trial or trial

proceedings will be initiated or filed by any plaintiffs except through Co-Lead Counsel.

        9.           Co-Liaison Counsel shall be available and responsible for communications to and

from this Court, including distributing orders and other directions from the Court to counsel and

shall make all filings with the Court and ensure compliance with the Local Rules.

        10.     Defendants’ counsel may rely upon all agreements made with Co-Lead Counsel, or

other duly authorized representative of Co-Lead Counsel, and such agreements shall be binding

on all Plaintiffs.

        11.     This Order shall apply to each derivative case arising out of the same, or

substantially the same, transactions or events as the Consolidated Derivative Action, that is

subsequently filed in, removed to, reassigned to, or transferred to this Court. When a derivative

case that properly belongs as part of In re Crown Castle International Corp. Derivative Litigation,



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C.A. No. 20-00606-MN, is hereafter filed in this Court, reassigned to this Court, or transferred

here from another court, this Court requests the assistance of counsel in calling to the attention of

the Clerk of the Court the filing, reassignment, or transfer of any derivative case that might

properly be consolidated as part of In re Crown Castle International Corp. Derivative Litigation,

C.A. No. 20-00606-MN, and counsel are to assist in assuring that counsel in subsequent actions

receive notice of this order.

       12.     Defendants accept service of the respective complaints that were filed in the

Derivative Actions.

       13.     The parties shall submit a proposed schedule to the Court within forty-five (45)

days of entry of this Order.

       14.     The parties’ proposed schedule will include designating an operative complaint in

the Consolidated Derivative Action or filing a consolidated complaint, which would replace the

complaints filed in the derivative actions, and Defendants responding to the operative or

consolidated complaint. Defendants are not required to answer or otherwise respond to the

respective complaints filed in the Derivative Actions.

       15.     The parties are not waiving any rights, claims, or defenses of any kind except as

expressly stated herein.

Dated: June 19, 2020

                                                      FARNAN LLP


                                              By:     /s/ Brian E. Farnan
                                                      Brian E. Farnan (Bar No. 4089)
                                                      Michael J. Farnan (Bar No.5165)
                                                      919 N. Market St., 12th Floor
                                                      Wilmington, DE 19801
                                                      Telephone: (302) 777-0300
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      bfarnan@farnanlaw.com
      mfarnan@farnanlaw.com

      O’KELLY & ERNST, LLC

By:   /s/ Ryan M. Ernst_______________
      Ryan M. Ernst (#4788)
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      [Proposed] Co-Liaison Counsel for Plaintiffs

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      Thomas J. McKenna
      Gregory M. Egleston
      501 Fifth Avenue, 19th Floor
      New York, NY 10016
      Tel: (212) 983-1300
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      Telephone: (516) 922-5427
      Facsimile: (516) 344-6204
      Email: tbrown@thebrownlawfirm.net


      [Proposed] Co-Lead Counsel for Plaintiffs

      THE ROSEN LAW FIRM, P.A.
      Phillip Kim
      275 Madison Avenue, 34th Floor
      New York, NY 10016
      Telephone: (212) 686-1060
      Facsimile: (212) 202-3827
      Email: pkim@rosenlegal.com

      Counsel for Plaintiff Bruno

      RICHARDS, LAYTON & FINGER, P.A.



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                                            /s/ Blake Rohrbacher
                                            Blake Rohrbacher (#4750)
                                            Nicole K. Pedi (#6236)
                                            One Rodney Square
                                            920 North King Street
                                            Wilmington, DE 19801
                                            (302) 651-7700
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                                            CRAVATH, SWAINE & MOORE LLP
                                            Rachel G. Skaistis
                                            825 8th Avenue
                                            New York, New York 10019
                                            (212) 474-1000
                                            rskaistis@cravath.com

                                            Counsel for Defendants




IT IS SO ORDERED this _____          June
                      23rd day of _______________, 2020


                               _____________________________
                               The Honorable Maryellen Noreika
                               United States District Judge




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